NPPirmh
                              CASE 0:16-cr-00333-DWF-SER Doc. 1 Filed 11/15/16 Page 1 of 4
AO   ql (Rev. ll/l l)   Crirninal Complaint



                                              UNrrsr Srerss Drsrrucr Counr
                                                               for the
                                                        District of Minnesota

  UNITED STATES OF AMERICA

                              v.                                           caseNo.   l(o nr:-3)? {snn
  LUIS ANGEL GARCIA

                                                   CRIMINAL COMPLAINT
            I, the      undersigned complainant, being duly swom, state the fbllowing is true and comect to the best      of   my

knowledge and             belief. On or about November 14,2016, in       Steams County,   in the State and District of Minnesot4

defendant

      possessed with intent to distribute 500 grams or more of a mixture and substance containing a detectable amount
      of methamphetamine, a controlled substance,

      in violation of Title 21, United States Code, Section(s) 841(a)(l)     & 841(bXlXA).

I t'urther state that I am a(n) Special Agent and that this complaint is based on the fbllowing facts:

            SEE ATTACHED                  AFFIDAVIT
Continued on the attached sheet and made a part        hereof: EYes




                                                                                  Mark Rosborg, Special Agenl, DEA
                                                                                      I'rinted name dnd title

Sworn to before me and signed in my presence,


 Date:   ul6llp
     --------r*----r-----
 Citv and State: Minneaoolis- MN
                                                                                           I'rinted Nume and litle
             CASE 0:16-cr-00333-DWF-SER Doc. 1 Filed 11/15/16 Page 2 of 4




STATE OF MINNESOTA                            )
                                                                                  tb-   lv\s -   ?.r? 5S/h
                                              )        ss. AFFIDAVIT OF MARK ROSBORG
COT]NTY OF HENNEPIN                           )


         Your Af-fiant, Mark Rosborg, being duly sworn, states the following:


         l.         I   make this affidavit        in support of a criminal complaint for Luis Angel

GARCIA, charging him with possession with the intent to distribute 500 grams or more of

a   mixture and substance containing              a detectable amount   of methamphetamine, a controlled

substance, in violation of        2l   U.S.C. $$ 8al(a)(l) and SalGXlXA).

         2.         I am a Special Agent with the Drug Enfbrcement Administration (DEA), and

have been since         April of2015. As a narcotics investigator your af'tiant     has received   training

and experience in undercover operations, the manufacture, packaging, distribution, and

importation of controlled substances, as well as in physical and electronic surveillance

techniques. My primary responsibilities as a narcotics investigator have included

conducting investigations ofstreet level to upper-level narcotics traflickers.

         3   .      The facts and information contained in this affidavit are based upon my

personal knowledge           ol the investigation        and observations   of other officers and agents

involved in the investigation.          All   observations ref-erenced below that were not personally

made by me were related to me by the persons who made such observations. This aftrdavit

contains information necessary to support probable cause for this complaint.                       It is not
intended         to include each and every f'act and matter observed by me or known to                  the

sovemment.
             CASE 0:16-cr-00333-DWF-SER Doc. 1 Filed 11/15/16 Page 3 of 4



         4.      On November 14,2016,I received information that a person driving a black,

late model Mercedes, with temporary plates likely originating liom a car dealership in

California, would be in St. Cloud, Minnesota, with a large quantity of methamphetamine.

'llhat same day, myself and other law enforcement ot'ficers began checking hotels in St.

Cloud, and located a vehicle matching that description at a Hampton Inn, located at 145

37th   Avenue North, in St. Cloud. The temporary dealer plates indicated they were from

Fusion Motors, in Moreno Valley, Califomia.

         5.      I spoke with hotel staff a1 the Hampton Inn. There was a single hotel guest

from California. That guest had anived at the hotel on November 12,2016, and registered

under the name Luis GARCIA, and provided an address of         XXXX Partridge Avenue, in

Los Angeles, California. GARCIA was staying in Room 327 of the }{ampton Inn.

         6.      On November 14.2016. I obtained state search wanants for Room 327 of the

Hampton Inn and the Mercedes. The warrants were signed by the Honorable Kris Davick-

IIalf'en, Steams County District Court Judge.

         7   .   'Ihe warrant for the hotel room was executed on November 14, 2016, at

approximately 4:20 p.m. Agents knocked and announced, but nobody came to the door.

The door was forced open.      the   sole occupant, identified as Luis Angel GARCIA, was in

the bathroom when agents entered the room. He was ordered out of the bathroom, and

secured. The room was searched. Ten Ziploc baggies containing a substance which field
           CASE 0:16-cr-00333-DWF-SER Doc. 1 Filed 11/15/16 Page 4 of 4



tested positive for methamphetamine were found in the toilet. Next to the toilet was a duffel

bag which contained a loaded Glock 9 millimeter handgun, serial number WYK601, with

a   round in the chamber. The duffel bag also contained clothing items and a scale. The ten

packages of methamphetamine weighed a total of approximately 13 pounds.

         8.       The serial number for the firearm was run throush the National Crime

Information Center, and found to be stolen in March 2016, in Inglewood, Califomia.

         9.       Based on the foregoing, there is probable cause to believe that on or about

November 14,2016, Luis Angel GARCIA possessed with intent to distribute 500 grams or

more of a mixture and substance containing a detectablc amount of methamphetamine, a

controlled substance, in violation of   2l   U.S.C. $$ 8al(a)(l) and 8al(bX1XA)


         Further Your Afflant sayeth not.




                                                    Maik Rosborg



SUBSCzuBED and SWORN to before me

       16th dav   of November.20l6
